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 1                U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
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 4                                                  ) Case No.: 21cr-28-APM
 5   UNITED STATES
                                                    )
 6                                                  )
 7   vs.                                            )
 8                                                  )
     ROBERTO MINUTA                                 )
 9                                                  )
10                                                  )
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14                                     MOTION TO strike ecf 403
15
     Roberto Minuta, by and through undersigned counsel, moves to strike the entirety of ECF 403,
16
17   which erroneously was a redlined version of the filing. Counsel has refiled a corrected copy at
18
     ECF 404.
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                                                  Respectfully submitted.
23
24
25
26                                                /s/ Jenifer Wicks
27                                                ____________________________
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